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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 ELEMENTS OF HOSPITALITY,      )                            CV 24-00214 JMS-KJM
 INC.,                         )
                               )                            ORDER ADOPTING THE
           Plaintiff,          )                            MAGISTRATE JUDGE’S
                               )                            FINDINGS AND
      vs.                      )                            RECOMMENDATION
                               )                            REGARDING PLAINTIFF
 OAHU ELECTRICAL SERVICES, )                                ELEMENTS OF HOSPITALITY,
 LLC; GAURA JOHNSON; JOHN      )                            INC.’S MOTION FOR DEFAULT
 DOES 1–10; JANE DOES 1–10;    )                            JUDGMENT, ECF No. 35
 DOE                           )
 CORPORATIONS 1–10; DOE        )
 PARTNERSHIPS 1–10; DOE        )
 ENTITIES 1–10; and DOE        )
 GOVERNMENT ENTITIES 1–10, )
                               )
           Defendants.         )
 _____________________________ )

     ORDER ADOPTING THE MAGISTRATE JUDGE’S FINDINGS AND
      RECOMMENDATION REGARDING PLAINTIFF ELEMENTS OF
   HOSPITALITY, INC.’S MOTION FOR DEFAULT JUDGMENT, ECF NO. 35

       Findings and Recommendation having been filed and served on all parties

 on March 17, 2025, and no objections having been filed by any party,

       IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

 United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the Findings and

 Recommendations are ADOPTED as the opinion and order of this Court.

       IT IS SO ORDERED.

                              /s/ J. Michael Seabright
                             J. Michael Seabright
                             United States District Judge
